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                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF TEXAS
                                 MARSHALL DIVISION

 ASHLEY HARVEY, INDIVIDUALLY                      §
 AND AS NEXT FRIEND OF L. H., A                   §
 MINOR                                            §
                                                  §           Case No. 2:18-cv-164- JRG
 v.                                               §
                                                  §
 CARTHAGE ISD ET AL                               §

                              STANDARD PROTECTIVE ORDER

        The Court, sua sponte, issues this Protective Order to facilitate document disclosure and

production under the Local Rules of this Court and the Federal Rules of Civil Procedure. Unless

modified pursuant to the terms contained in this Order, this Order shall remain in effect through

the conclusion of this litigation.

        In support of this order, the Court finds that:

1.      Documents or information containing confidential proprietary and business information

and/or trade secrets (AConfidential Information@) that bear significantly on the parties= claims or

defenses is likely to be disclosed or produced during the course of discovery in this litigation;

2.      The parties to this litigation may assert that public dissemination and disclosure of

Confidential Information could severely injure or damage the party disclosing or producing the

Confidential Information and could place that party at a competitive disadvantage;

3.      Counsel for the party or parties receiving Confidential Information are presently without

sufficient information to accept the representation(s) made by the party or parties producing

Confidential Information as to the confidential, proprietary, and/or trade secret nature of such

Confidential Information; and
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4.     To protect the respective interests of the parties and to facilitate the progress of disclosure

and discovery in this case, the following Order should issue:

       IT IS THEREFORE ORDERED THAT:

1.     Documents or discovery responses containing Confidential Information disclosed or

       produced by any party in this litigation are referred to as AProtected Documents.@ Except

       as otherwise indicated below, all documents or discovery responses designated by the

       producing party as AConfidential@ and which are disclosed or produced to the attorney=s for

       the other parties to this litigation are Protected Documents and are entitled to confidential

       treatment as described below.

2.     Protected Documents shall not include (a) advertising materials, (b) materials that on their

       face show that they have been published to the general public, or (c) documents that have

       submitted to any governmental entity without request for confidential treatment.

3.     At any time after the delivery of Protected Documents, counsel for the party or parties

       receiving the Protected Documents may challenge the Confidential designation of all or

       any portion thereof by providing written notice thereof to counsel for the party disclosing

       or producing the Protected Documents. If the parties are unable to agree as to whether the

       confidential designation of discovery material is appropriate, the party or parties receiving

       the Protected Documents shall certify to the Court that the parties cannot reach an

       agreement as to the confidential nature of all or a portion of the Protected Documents.

       Thereafter, the party or parties disclosing or producing the Protected Documents shall have

       ten (10) days from the date of certification to file a motion for protective order with regard

       to any Protected Documents in dispute. The party or parties producing the Protected



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      Documents shall have the burden of establishing that the disputed Protected Documents

      are entitled to confidential treatment. If the party or parties producing the Protected

      Documents do not timely file a motion for protective order, then the Protected Documents

      in dispute shall no longer be subject to confidential treatment as provided in this Order.

      All Protected Documents are entitled to confidential treatment pursuant to the terms of this

      Order until and unless the parties formally agree in writing to the contrary, a party fails to

      timely move for a protective order, or a contrary determination is made by the Court as to

      whether all or a portion of a Protected Document is entitled to confidential treatment.

4.    Confidential Treatment. Protected Documents and any information contained therein

      shall not be used or shown, disseminated, copied, or in any way communicated to anyone

      for any purpose whatsoever, except as provided for below.

5.    Protected Documents and any information contained therein shall be disclosed only to the

      following persons (AQualified Persons@):

      (a)     Counsel of record in this action for the party or party receiving Protected
              Documents or any information contained therein;

      (b)     Employees of such counsel, including experts and investigators, assigned to and
              necessary to assist such counsel in the preparation and trial of this action; and

      (c)     the Court.

      Protected Documents and any information contained therein shall be used solely for the

      prosecution of this litigation.




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6.    Counsel of record for the party or parties receiving Protected Documents may create an

      index of the Protected Documents and furnish it to attorneys of record representing or

      having represented parties involved in litigation involving the claims alleged in this suit

      against the party or parties disclosing or producing the Protected Documents. The index

      may only identify the document, date, author, and general subject matter of any Protected

      Document, but may not reveal the substance of any such document. Counsel for the party

      or parties receiving Protected Documents shall maintain a current log of the names and

      addresses of persons to whom the index was furnished.

7.    The term Acopy@ as used herein means any photographic, mechanical or computerized copy

      or reproduction of any document or thing, or any verbatim transcript, in whole or in part,

      of such document or thing.

8.    To the extent that Protected Documents or information contained therein are used in

      depositions, at hearings, or at trial, such documents or information shall remain subject to

      the provisions of this Order, along with the transcript pages of the deposition testimony

      and/or trial testimony referring to the Protected Documents or information contained

      therein.

9.    Any court reporter or transcriber who reports or transcribes testimony in this action shall

      agree that all Aconfidential@ information designated as such under this Order shall remain

      Aconfidential@ and shall not be disclosed by them, except pursuant to the terms of this Order,

      and that any notes or transcriptions of such testimony (and any accompanying exhibits)

      will be retained by the reporter or delivered to counsel of record.




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10.   Inadvertent or unintentional production of documents or information containing

      Confidential Information which are not designated Aconfidential@ shall not be deemed a

      waiver in whole or in part of a claim for confidential treatment.

11.   The party or parties receiving Protected Documents shall not under any circumstances sell,

      offer for sale, advertise, or publicize Protected Documents or any information contained

      therein.

12.   After termination of this litigation, the provisions of this Order shall continue to be binding,

      except with respect to those documents and information that become a matter of public

      record. This Court retains and shall have continuing jurisdiction over the parties and

      recipients of the Protected Documents for enforcement of the provisions of this Order

      following termination of this litigation.

13.   Upon termination of this action by dismissal, judgment, or settlement, counsel for the party

      or parties receiving Protected Documents shall return the Protected Documents to the

      counsel for the party or parties disclosing or producing the Protected Documents. The

      party or parties receiving the Protected Documents shall keep their attorney work product

      which refers or relates to any Protected Documents. Attorney work product may be used

      in subsequent litigation provided that such use does not disclose Protected Documents or

      any information contained therein.

14.   This Order shall be binding upon the parties and their attorneys, successors, executors,

      personal representatives, administrators, heirs, legal representatives, assigns, subsidiaries,

      divisions, employees, agents, independent contractors, or other persons or organizations

      over which they have control.



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    15.   The Court anticipates and encourages the parties to file a motion to modify the terms hereof

          with respect to the sharing of Protected Documents with experts and consultants; shifting

          the cost burden of production equitably; and other terms that may be reasonably required

          to protect a party as provided in Rule 26(b) or (c) of the Federal Rules of Civil Procedure.

      SIGNED this 19th day of December, 2011.
     So ORDERED and SIGNED this 3rd day of July, 2018.




                                                       ____________________________________
                                                       RODNEY GILSTRAP
                                                       UNITED STATES DISTRICT JUDGE




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